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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION


                                          )
STATE OF TEXAS,                           )
STATE OF MISSOURI,                        )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  )   Civil Action No. 2:21-cv-00067-Z
                                          )
JOSEPH R. BIDEN, JR.,                     )
in his official capacity as               )
President of the United States, et al.,   )
                                          )
      Defendants.                         )
                                          )


      DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION
         TO POSTPONE THE EFFECTIVE DATE OF AGENCY ACTION
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                                          INTRODUCTION

          This Court should deny Plaintiffs’ motion to postpone the effective date of an October 29,

2021 memorandum ending the Migrant Protection Protocols (“MPP”) that has already gone into

effect. Just two months ago, the Supreme Court held that lower courts lack jurisdiction to enjoin a

Department of Homeland Security (“DHS”) memorandum ending MPP, an entirely discretionary

program implementing the agency’s discretionary enforcement authority under 8 U.S.C.

§ 1225(b)(2)(C) to return certain noncitizens to Mexico pending their removal proceedings. For

the following reasons, the Court should reject Plaintiffs’ renewed attempt to restrain DHS’s

discretion to implement Section 1225(b)(2)(C) by effectively seeking under a different name the

same relief the Supreme Court already said was barred.

          First, Plaintiffs’ claim is in substance no different than a request for a preliminary

injunction. They in effect seek to restrain DHS decisions on how to implement 8 U.S.C.

§ 1225(b)(2)(C), and so their claim is barred by 8 U.S.C. § 1252(f)(1), as the Supreme Court

explained in this case. Second, while 5 U.S.C. § 705 authorizes courts in some circumstances to

delay the effective date of an agency action, Section 705 cannot be used where, as here, the agency

action has already taken effect. Third, Plaintiffs lack standing, and their claim under the

Administrative Procedure Act (“APA”) is not reviewable. Fourth, even if the Court had jurisdiction

and the claim was reviewable, Plaintiffs cannot show a likelihood of success on their claim. Fifth,

even if the States could satisfy the requirements for a stay, which are the same as for a preliminary

injunction, the remaining preliminary injunction factors all weigh strongly in Defendants’ favor

and against granting a stay. Finally, even if the Court grants a stay, it must be limited to the Plaintiff

States.

          Accordingly, the Court should deny Plaintiffs’ motion.




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                                        BACKGROUND

       The Executive Branch has broad constitutional and statutory power to determine who may

enter the country, and on what terms. Knauff v. Shaughnessy, 338 U.S. 537, 543 (1950). The

Executive Branch also has authority and discretion to prioritize which noncitizens to remove, and

through what type of proceedings. See Matter of E-R-M- & L-R-M-, 25 I. & N. Dec. 520, 523 (BIA

2011). In 8 U.S.C. § 1225, Congress delegated to the Executive Branch the authority and discretion

to inspect and process for immigration proceedings noncitizens arriving in the United States.1 First,

Congress has authorized DHS to initiate expedited removal proceedings in 8 U.S.C. § 1225(b)(1).

Under that provision, an “applicant for admission” to the United States who lacks valid entry

documentation or misrepresents a material fact shall be “removed from the United States without

further hearing or review unless” he “indicates either an intention to apply for asylum ... or a fear

of persecution.” 8 U.S.C. § 1225(b)(1)(A)(i). Alternatively, Congress has provided that DHS can

place an applicant who is seeking admission into removal proceedings before an immigration judge

under 8 U.S.C. § 1229a, and shall detain the noncitizen pending such proceedings if he is not

“clearly and beyond a doubt entitled to be admitted.” Id. § 1225(b)(2)(A). Congress also provided

DHS with various alternatives to detention. Among other things, (1) DHS may release applicants

for admission on parole on a case-by-case basis “for urgent humanitarian reasons or significant

public benefit,” 8 U.S.C. § 1182(d)(5)(A), or (2) “[i]n the case of an alien described in

[§ 1225(b)(2)(A)] who is arriving on land (whether or not at a designated port of arrival) from a

foreign territory contiguous to the United States, the [Secretary of Homeland Security] may return

the alien to that territory pending a proceeding under section 1229a of this title.” 8 U.S.C.

§ 1225(b)(2)(C).


1
 Section 1225 refers to the Attorney General, but those functions have been transferred to the
Secretary of Homeland Security. See DHS v. Thuraissigiam, 140 S. Ct. 1959, 1965 n.3 (2020).

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       In December 2018, then-Secretary Nielsen announced DHS would “begin implementation

of” the contiguous-territory-return authority in § 1225(b)(2)(C), 84 Fed. Reg. 6811 (Feb. 28,

2019), one of many discretionary enforcement authorities available to DHS in prioritizing

enforcement of the immigration laws. Under MPP, it was DHS policy that certain “citizens and

nationals of countries other than Mexico … arriving in the United States by land from Mexico—

illegally or without proper documentation—may be returned to Mexico pursuant to”

§ 1225(b)(2)(C) “for the duration of their Section [1229a] removal proceedings.” Id. If an

immigration officer determined that a noncitizen was eligible for return to Mexico and should be

placed in MPP, the noncitizen was issued a Notice to Appear (“NTA”) and placed into § 1229a

removal proceedings, and then returned to Mexico to await those proceedings. Id.

       In March 2020, after the Centers for Disease Control and Prevention issued an order

temporarily suspending entry of certain individuals traveling from Canada or Mexico in response

to the COVID-19 pandemic, MPP enrollments began to decline. See Notice of Order Under

Sections 362 and 365 of the Public Health Service Act Suspending Introduction of Certain Persons

From Countries Where a Communicable Disease Exists, 85 Fed. Reg. 17060 (Mar. 26, 2020).

       Upon President Biden taking office on January 20, 2021, the Acting Secretary directed that

DHS would “suspend new enrollments in [MPP], pending further review of the program.”

Administrative Record (“AR”) at 1175. President Biden subsequently issued an Executive Order

directing DHS to “promptly consider a phased strategy for the safe and orderly entry into the

United States, consistent with public health and safety and capacity constraints, of those

individuals who have been subjected to MPP for further processing of their asylum claims,” and

“to promptly review and determine whether to terminate or modify the program known as [MPP].”

See Executive Order No. 14010, 86 Fed. Reg. 8267, Creating a Comprehensive Regional




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Framework To Address the Causes of Migration, To Manage Migration Throughout North and

Central America, and To Provide Safe and Orderly Processing of Asylum Seekers at the United

States Border (Feb 2, 2021); AR914. On June 1, 2021, the Secretary issued a memorandum setting

out his decision to terminate MPP and rescind the January 25, 2019 memorandum creating the

program. AR63.

       Missouri and Texas filed this suit in April 2021, initially challenging the suspension of new

enrollments in MPP and later amending their complaint to seek injunctive relief against the

Secretary’s June 1 decision. On August 13, 2021, following a one-day bench trial, the Court

“permanently enjoined and restrained” DHS “from implementing or enforcing the June 1

Memorandum,” which it “vacated in its entirety and remanded to DHS for further consideration.”

ECF No. 94. Further, the Court issued a nationwide permanent injunction requiring DHS “to

enforce and implement MPP in good faith until such a time as it has been lawfully rescinded in

compliance with the APA and until such a time as the federal government has sufficient detention

capacity to detain all aliens subject to mandatory detention under Section [1225] without releasing

any aliens because of a lack of detention resources.” Id. Defendants appealed.

       On October 29, 2021, while that appeal was pending and following extensive additional

review of the program, the Secretary issued a new memorandum terminating MPP and

immediately rescinding all prior MPP memoranda. AR1-43. Based on that superseding decision,

the government moved the Fifth Circuit to remand to this Court for further proceedings. In

December 2021, the Fifth Circuit denied that motion and upheld the injunction. Texas v. Biden, 20

F.4th 928 (5th Cir. 2021). It held that the limits on jurisdiction in 8 U.S.C. § 1252(f) did not apply

because the district court’s injunction “restored” the operation of Section 1225(b)(2)(C) rather than

enjoined it, that Section 1225(b)(2)(C), which authorizes contiguous-territory return as an




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alternative to detention under Section 1225(b)(2)(A), becomes mandatory if the government lacks

sufficient detention capacity, and that the October 29 memorandum did not constitute a new and

separately reviewable agency action. Id. at 951, 996, 1004.

       On June 30, 2022, the Supreme Court reversed each of those rulings and “the judgment of

the Court of Appeals and remand[ed] the case for further proceedings.” Biden v. Texas, 142 S. Ct.

2528, 2548 (2022). The Supreme Court ordered that “[o]n remand, the District Court should

consider in the first instance whether the October 29 memoranda” comply with the APA. Id. On

August 3, 2022, the Fifth Circuit remanded the case to this Court “for further proceedings

consistent with the Supreme Court’s decision,” Order, Texas v. Biden, No. 21-10806 (5th Cir Aug.

3, 2022), and issued the mandate on August 6, 2022, see Order, Texas v. Biden, No. 21-10806 (5th

Cir. Aug. 6, 2022). On August 8, 2022, this Court vacated the permanent injunction, see ECF No.

147, and DHS ended the use of MPP as directed by the October 29 memorandum. See DHS

Statement    on    U.S.     District   Court’s    Decision     Regarding     MPP,     available    at

https://www.dhs.gov/news/2022/08/08/dhs-statement-us-district-courts-decision-regarding-mpp.

       Plaintiffs then moved to postpone the effective date of the October 29, 2021 memorandum.

                                           ARGUMENT

       Section 1252(f)(1) divests this Court of jurisdiction and authority to grant Plaintiffs’

request to postpone under 5 U.S.C. § 705 or otherwise restrain agency actions related to

implementation of Section 1225(b)(2)(C) for the same reasons the Supreme Court held injunctive

relief is unavailable with respect to that section. In addition, Section 705 does not grant this Court

authority to postpone the effective date of a memorandum that has already taken effect. Even if

the Court had such authority, the Court should still deny the stay because Plaintiffs cannot show a

likelihood of success on the merits of their claim, and the equities and public interest tip strongly

in Defendants’ favor.


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       Section 705 provides that where a rule has not yet become effective, “[o]n such conditions

as may be required and to the extent necessary to prevent irreparable injury, the reviewing court

… may issue all necessary and appropriate process to postpone the effective date of an agency

action or to preserve status or rights pending conclusion of the review proceedings.” 5 U.S.C.

§ 705. The standard for a Section 705 stay “is the same as the standard for issuance of a preliminary

injunction.” Monumental Task Comm., Inc. v. Foxx, 157 F. Supp. 3d 573, 586 (E.D. La. 2016), aff

’d sub nom. Monumental Task Comm., Inc. v. Chao, 678 F. App’x 250 (5th Cir. 2017); see Texas

v. EPA, 829 F.3d 405, 424 (5th Cir. 2016). The preliminary injunction standard requires Plaintiffs

to show: (1) a likelihood of success on the merits; (2) irreparable harm in the absence of

preliminary relief; (3) that the balance of equities tips in their favor; and (4) that an injunction is

in the public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008). It is “an

extraordinary remedy which should only be granted if” Plaintiffs have “clearly carried the burden

of persuasion on all four requirements.” Karaha Bodas Co. v. Perusahaan Pertambangan Minyak

Dan Gas Bumi Negara, 335 F.3d 357, 363 (5th Cir. 2003). Plaintiffs cannot meet this standard.

I.     Plaintiffs’ stay request is not justiciable.

           A. Section 1252(f)(1) bars jurisdiction to stay an agency action directing how
              DHS will implement Section 1225(b)(2)(C).

      The relief Plaintiffs seek would have the effect of enjoining or restraining DHS’s

implementation of Section 1225 and is thus barred by 8 U.S.C. § 1252(f)(1).

      Invoking 5 U.S.C. § 705, Plaintiffs ask this Court to “[p]ostpone the effective date of

Defendants’ termination of MPP effected by the October 29 Memoranda,” Second Amended

Complaint, ECF No. 148-1, Prayer For Relief, ¶ a; see Mot. at 6-7. Section 705 provides that

where a rule has not yet become effective, and “an agency finds that justice so requires,” it

may postpone the effective date of action taken by it, pending judicial review,” and that:



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      [o]n such conditions as may be required and to the extent necessary to prevent
      irreparable injury, the reviewing court, including the court to which a case may
      be taken on appeal from or on application for certiorari or other writ to a
      reviewing court, may issue all necessary and appropriate process to postpone the
      effective date of an agency action or to preserve status or rights pending
      conclusion of the review proceedings.

However, “Section 705 of the APA is not an independent grant of subject matter jurisdiction,”

and the “Supreme Court has stated that the APA does not provide a mechanism to override the

jurisdictional requirements of” more specific statutes that govern review of a particular

agency’s actions. D&G Holdings v. Burwell, 156 F. Supp. 3d 798, 811 (W.D. La. 2016)

(explaining that jurisdictional limits in Medicare Act foreclose relief under Section 705).

       Section 1252(f)(1) is such a provision. Section 1252(f)(1) provides: “Regardless of the

nature of the action or claim or of the identity of the party or parties bringing the action, no court

(other than the Supreme Court) shall have jurisdiction or authority to enjoin or restrain the

operation of the provisions of part IV of this subchapter … other than with respect to the

application of such provisions to an individual alien against whom proceedings under such part

have been initiated.” 8 U.S.C. § 1252(f)(1) (emphasis added). The Supreme Court held that Section

1252(f)(1) “generally prohibits lower courts from entering injunctions that order federal officials

to take or to refrain from taking actions to enforce, implement, or otherwise carry out the specified

statutory provisions.” Texas, 142 S. Ct. at 2538 (quoting Garland v. Aleman Gonzalez, 596 U.S.

___ (2022)). Section 1225(b)(2)(C) is one of the statutory provisions covered by Section

1252(f)(1), and so “[t]he District Court’s [previous] injunction in this case violated that provision.”

Id. Section 1252(f)(1) thus eliminates the Court’s authority—and the authority of any court other

than the Supreme Court—to issue coercive orders restraining implementation of Section 1225.

       A court order postponing agency action under Section 705 is such a coercive order. Such

an order would restrain the agency’s actions with respect to how it will implement Section



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1225(b)(2)(C), and is thus analogous to a preliminary injunction in that an order under Section 705

purports to maintain the status quo pending resolution of the merits. 5 U.S.C. § 705 (referencing

“preserv[ation of] status or rights”); see, e.g., D&G Holdings, 156 F. Supp. 3d at 811 (movant

seeks “a status quo injunction under 5 U.S.C. § 705”). Courts, including the Fifth Circuit, thus

routinely note that the standard for a Section 705 stay “is the same as the standard for issuance of

a preliminary injunction.” Monumental Task Comm., Inc. v. Foxx, 157 F. Supp. 3d 573, 586 (E.D.

La. 2016), aff ’d sub nom. Monumental Task Comm., Inc. v. Chao, 678 F. App’x 250 (5th Cir.

2017); see, e.g., Texas v. U.S. Env’t Prot. Agency, 829 F.3d 405, 424 (5th Cir. 2016); Cronin v.

USDA, 919 F.2d 439, 446 (7th Cir. 1990); D&G Holdings, 156 F. Supp. 3d at 811; Texas v. United

States, 95 F. Supp. 3d 965, 973 (N.D. Tex. 2015); Sierra Club v. Jackson, 833 F. Supp. 2d 11, 19

(D.D.C. 2012). Moreover, an order under Section 705 postponing the effective date of the October

29 Memorandum “order[s] federal officials to take or to refrain from taking actions to enforce,

implement, or otherwise carry out the specified statutory provisions.” Texas, 142 S. Ct. at 2538

(emphasis added); see Black’s Law Dictionary (10th ed. 2014) (defining injunction as “[a] court

order commanding or preventing an action”).

       Plaintiffs’ sole rejoinder is that stays are different from injunctions, Mot. at 23, but that

argument depends on the incorrect assumption that Section 705 creates a new form of remedy—a

district court stay of agency action that is distinct from an injunction. Section 705 does not,

however, create any new remedies beyond the traditional equitable relief that existed at the time

of the APA’s passage. Even assuming that Plaintiffs could show a pre-APA tradition of courts of

appeals staying agency orders challenged in special statutory review proceedings, see Scripps-




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Howard Radio v. Fed. Commc'ns Comm’n, 316 U.S. 4, 16-17 (1942), Plaintiffs have not identified

any pre-APA historical tradition of district courts issuing stays of agency policies.

       When Congress adopted Section 705, there is no evidence that it intended to greatly expand

preexisting authority by allowing district courts to enjoin agency policies. Instead, Congress

simply codified existing equitable remedies. Section 705 allows a court to issue only that “process”

that is “necessary and appropriate.” And the Supreme Court long ago concluded that “[t]he relevant

legislative history of that section … indicates that it was primarily intended to reflect existing law”

permitting courts of appeals to stay certain agency actions pending direct review authorized by

statute in the same manner that appellate courts can in certain circumstances stay a district court

decision pending appeal. Sampson v. Murray, 415 U.S. 61, 68 n.15 (1974); see Scripps-Howard

Radio, 316 U.S. at 9-10 (“It has always been held, therefore, that, as part of its traditional

equipment for the administration of justice, a federal court can stay the enforcement of a judgment

pending the outcome of an appeal”) (emphasis added). Section 705 was not intended “to fashion

new rules of intervention for District Courts.” Sampson, 415 U.S. at 68 n.15; see also Peoples Gas,

Light & Coke Co. v. U.S. Postal Serv., 658 F.2d 1182, 1191 (7th Cir. 1981) (noting that the APA

“has been widely interpreted as being merely declaratory of the common law of reviewability and

standing existing at the time of [its] enactment” and collecting cases on that point). Section 705

thus does not create any new remedies distinct from traditional equitable relief.

       The Senate Report prepared in advance of the APA’s enactment explains that the “first

sentence” of Section 705—relating to an agency’s authority to postpone the effective date of a

rule—simply “states existing law,” while the “second sentence”—the one at issue here—“may be

said to change existing law only to the extent that the language of the opinion in Scripps-Howard

… may be interpreted to deny to reviewing courts the power to permit an applicant for a renewal




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of a license to continue to operate as if the original license had not expired, pending conclusion of

the judicial review proceedings.” S. Rep. No. 79-752, at 44 (1945), reprinted in GPO,

Administrative Procedure Act: Legislative History, 1944-46, at 230 (1946), available

at www.justice.gov/sites/default/files/jmd/legacy/2014/03/20/senaterept-752-1945.pdf (attached

in Addendum) (emphasis added). The House Report separately noted that relief under Section 705

requires a “proper showing” of the traditional prerequisites for relief. H.R. Rep. No. 79-1980, at

43-44 (1946), reprinted in GPO, Administrative Procedure Act: Legislative History, 1944-46, at

277-78 (1946).

       The Attorney General’s Manual on the APA further supports the conclusion that Section

705 does not create any new remedies. The Supreme Court has accorded deference to this manual

because it was issued contemporaneously with passage of the APA and because of the “role played

by the Department of Justice in drafting the legislation,” Vt. Yankee Nuclear Power Corp. v. Nat.

Res. Def. Council, Inc., 435 U.S. 519, 546 (1978). The Manual explains that “[t]he provisions of

section 10 [the APA’s judicial review provisions] constitute a general restatement of the principles

of judicial review embodied in many statutes and judicial decisions,” and “generally leave[] the

mechanics of judicial review to be governed by other statutes and by judicial rules.” U.S. Dep’t of

Justice, Attorney General's Manual on the Administrative Procedure Act 93 (1946). Referring

to Section 705, the Manual emphasizes that the “general procedural provisions governing the

issuance of preliminary injunctions . . . appear to be applicable to the exercise of the power

conferred by that subsection.” Id. at 107. Thus, the text, context, legislative history, sources

contemporary to the APA’s passage, and relevant case law all show that Section 705 does nothing

more than preserve traditional equitable relief—relief that is barred here by Section 1252(f)(1).




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       Plaintiffs nonetheless contend that “[s]tays are not injunctions” because “‘[a]n injunction

and a stay have typically been understood to serve different purposes.’” Mot. at 23 (quoting Nken

v. Holder, 556 U.S. 418, 428 (2009)). Nken, however, has no application here. In Nken, the Court

addressed a different statutory provision of the INA, 8 U.S.C. § 1252(f)(2)—which only prohibited

“enjoin[ing] the removal of any alien”—and held that it did not preclude individual stays of the

order of removal pending review. Nken, 556 U.S. at 428. The stay of the removal order, the Court

reasoned, “operate[d] upon the [administrative or] judicial proceeding itself.” Id. at 428;

see Tesfamichael v. Gonzales, 411 F.3d 169, 174 (5th Cir. 2005) (explaining that a “stay” is distinct

from an “injunction” when it operates on an adjudication originating in a lower court or an

administrative agency); see also Black’s Law Dictionary 1413 (6th ed.1990) (defining a “stay” as:

“[a] stopping; the act of arresting a judicial proceeding by the order of a court”) (emphasis added).2

       Plaintiffs do not ask this Court for an order that would operate on the individual removal

proceedings or some other agency adjudication pending judicial review of that adjudication. They

ask this Court to “prevent” the government from implementing its chosen “course of action” with

respect to Section 1225(b)(2)(C). See Aleman Gonzalez, 142 S. Ct. at 2063, 2065 (orders requiring

government to “refrain from actions that (again in the Government’s view) are allowed” by a

covered provisions are barred by Section 1252(f)). Such an order, even if labeled a stay, is



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  Further distinguishing Nken, the INA specifically contemplates stays of removal orders pending
judicial review. See 8 U.S.C. § 1231(a)(1)(B)(ii). Moreover, Section 1252(f)(1) explicitly exempts
cases involving individual noncitizens from its coverage, meaning it would not bar an individual
stay of removal. But no provision of the INA explicitly contemplates a similar carve-out for parties
seeking on a programmatic basis to delay the operation of other agency actions implementing
covered statutory provisions. Put differently, no provision authorizes courts to “coerc[e],” Nken,
556 U.S. at 429, the federal government to not implement the covered provisions as it chooses
through an order that operates on a federal regulation or policy, rather than “upon [a] judicial [or
administrative] proceeding itself,” a hallmark of a stay, Nken, 556 U.S. at 428. And Aleman
Gonzalez eliminates any doubt that an order purporting to stay the operation of a federal regulation
or policy implementing a covered provision of the INA is prohibited by Section 1252(f)(1).

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injunctive in effect and thus prohibited by Section 1252(f)(1). See id.; accord Brown v. Gilmore,

533 U.S. 1301, 1303 (2001) (Rehnquist, C.J., in chambers) (“[A]pplicants are seeking not merely

a stay of a lower court judgment, but an injunction against the enforcement of a presumptively

valid state statute”); Wyoming v. U.S. Dep’t of Interior, Nos. 18-8027, 18-8029, 2018 WL

2727031, at *1 (10th Cir. June 4, 2018) (explaining that “[t]he district court’s ‘stay’ effectively

enjoins enforcement of the Rule” and is thus immediately appealable as an injunctive order).

Indeed, Nken itself recognized this distinction, explaining that “[a] stay ‘simply suspends judicial

alteration of the status quo, while injunctive relief grants judicial intervention” in the first

instance. Nken, 556 U.S. at 429.

       In addition, the Supreme Court has repeatedly accorded a broad interpretation to terms such

as “injunction” in other statutes. For example, the Court interpreted a statute conferring jurisdiction

over appeals from an “injunction in any civil action ... required ... to be heard and determined by

a district court of three judges,” 28 U.S.C. § 1253 (emphasis added), to apply to orders with a

“coercive ... effect.” Aberdeen & Rockfish R. Co. v. Students Challenging Regul. Agency Procs.,

422 U.S. 289, 307 (1975). In reaching that conclusion, the Court commented that it had “repeatedly

exercised jurisdiction under [the provision] over appeals from orders ... not cast in injunctive

language but which by their terms simply ‘set aside’ or declined to ‘set aside’ orders of the

[agency].” Id. at 308 n.11.

       Regardless, even if the Court were to otherwise conclude that a stay here does not “enjoin”

operation of the covered provisions under Nken, Section 1252(f)(1) is far broader than Section

1252(f)(2), given that it strips courts of jurisdiction to “enjoin or restrain the operation” of the

covered provisions, rather than just prohibiting enjoining removal orders. 8 U.S.C. § 1252(f)(1)

(emphasis added). As the Supreme Court held in Aleman, to “restrain” means to “check, hold back,




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or prevent (a person or thing) from some course of action,” to “inhibit particular actions,” or to

“stop (or perhaps compel)” action. Aleman Gonzalez, 142 S. Ct. at 2063 (quoting 5 Oxford English

Dictionary 756 (2d ed. 1989); Webster’s Third New International Dictionary, at 1936; Direct

Marketing Ass’n. v. Brohl, 575 U.S. 1, 12–13 (2015)). An order preventing the memorandum from

remaining in effect prevents or stops its operation, and so constitutes an order “restraining” federal

officials “from taking actions to enforce, implement, or otherwise carry out the specified statutory

provisions.” Aleman Gonzalez, 142 S. Ct. at 2065.

       Finally, Plaintiffs’ reliance on Texas v. United States, 40 F.4th 205 (5th Cir. 2022) is

misplaced. There, the Fifth Circuit held that vacatur under the APA as part of a final judgment

following a determination that a rule is arbitrary and capricious under 5 U.S.C. § 706 likely does

not “enjoin or restrain” the rule because “a vacatur does nothing but re-establish the status quo

absent the unlawful agency action” and so “neither compels nor restrains further agency decision-

making.” Id. at 220-21. At the outset, that decision was issued in a preliminary stay posture and

thus did not definitively resolve the meaning of Section 1252(f)(1), id. at 220, and the Supreme

Court has granted certiorari to consider the issue, see United States v. Texas, No. 22A17 (22-58),

2022 WL 2841804 (July 21, 2022). Moreover, while the government disagrees with the Fifth

Circuit’s conclusion with respect to Section 1252(f) and vacatur relief, see Supplemental brief of

petitioners at 14-19, Biden v. Texas, No. 21-954, the fact remains that what Plaintiffs seek here is

not vacatur. Plaintiffs do not ask the Court to set aside the memorandum following a final decision

on the merits with respect to their APA claim, which merely requires a showing that the agency

action at issue is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law.” 5 U.S.C. § 706(2)(A). They seek a remedy that requires the far more demanding showing on

the four factors required for preliminary injunctive relief, including “irreparable injury,” 5 U.S.C.




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§ 705, and the other factors, and an order that has the effect of preventing DHS from implementing

the memorandum. As explained above, that would enjoin or at least restrain the government’s

chosen operation of Section 1225(b)(2)(C), and so is barred by Section 1252(f)(1).

        Indeed, a contrary reading is at odds with Congress’s clear intent that the government’s

chosen means of implementing the covered “procedures will remain in force while [any] lawsuits

are pending” and that “single district courts or courts of appeal do not have authority to enjoin

procedures established by Congress to reform the process of removing illegal aliens from the U.S.”

H.R. Rep. No. 104-469, pt 1, at 161 (Conference Report). A postponement under Section 705

would improperly prevent implementation of the memorandum “while [] lawsuits are pending,”

before final judgment affirmed by the Supreme Court. Id. And even if Section 1252(f)(1) did not

bar such a restraint unless ordered by the Supreme Court, vacatur is a remedy that can only be

granted upon final judgment. Cf. Doran v. Salem Inn, Inc., 422 U.S. 922, 931 (1975) (“prior to

final judgment there is no established declaratory remedy comparable to a preliminary

injunction”).

            B. The Court cannot stay agency action that has already gone into effect.

        Even if Section 1252(f) does not apply, Section 705 by its own terms does not authorize a

postponement of the memorandum. Courts construing Section 705 have concluded that the phrase

“postpone the effective date” of an agency action authorizes the “postpone[ment of] the effective

date of a not yet effective rule, pending judicial review,” but not suspension of a rule that is already

in effect. See, e.g., Safety-Kleen Corp. v. EPA, Nos. 92-1629, 92-1639, 1996 U.S. App. LEXIS

2324, at *2-3 (D.C. Cir. Jan. 19, 1996) (emphasis added); Ctr. for Biological Diversity v. Regan,

No. CV 21-119 (RDM), 2022 WL 971067, at *21 (D.D.C. Mar. 30, 2022) (same, collecting cases);

Nat. Res. Def. Council v. U.S. Dep’t of Energy, 362 F. Supp. 3d 126, 151 (S.D.N.Y. 2019) (same);

California v. U.S. Bureau of Land Mgmt., 277 F. Supp. 3d 1106, 1118 (N.D. Cal. 2017) (same).


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While these cases address an agency decision to “postpone the effective date,” Section 705 uses

identical language when referring to “the reviewing court ... postpon[ing] the effective date of an

agency action.” The use of an identical phrase in the first and second sentences of Section 705

must be presumed to be intentional. See, e.g., Sorenson v. Sec’y of Treasury, 475 U.S. 851, 860

(1986) (“The normal rule of statutory construction assumes that identical words used in different

parts of the same act are intended to have the same meaning.”). Given its plain meaning, the

language in Section 705 allowing a court or agency to “postpone the effective date” can only be

read to mean that the statute allows the court “to put off until a future time,” “defer,” or “delay”

the “operative” date of the agency action. See MERRIAM-WEBSTER DICTIONARY,

https://www.merriam-webster.com/dictionary/postpone (last visited Mar. 17, 2021); MERRIAM-

WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/effective (last visited

Mar. 17, 2021); see also BLACK’S LAW DICTIONARY ONLINE (2d. Ed.) (defining “postpone”

as “to put off; defer; delay; continue”). One cannot “defer” or “put off” an action that has already

occurred; thus, it would be unreasonable to interpret the statute as permitting the issuance of a stay

after the operative date of the challenged rule has already passed.

       Here, the October 29 decision became “effective immediately.” AR4 (“I am hereby

terminating MPP. Effective immediately, I hereby supersede and rescind the June 1 memorandum,

Secretary Nielsen’s January 25, 2019 memorandum, and any other guidance or other documents

prepared by the Department to implement MPP.”). And although the October 29 memorandum

delayed “implement[ation]” of the Secretary’s termination until the injunction was “vacated,” id.,

that is irrelevant to whether the memorandum was in effect earlier. Courts distinguish between the

effective date and implementation or compliance date for purposes of Section 705. See, e.g.,

Becerra v. U.S. Dep’t of Interior, 276 F. Supp. 3d 953, 963 (N.D. Cal. 2017); U.S. Bureau of Land




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Mgmt., 277 F. Supp. 3d at 1118. In any event, even the implementation date has now come to pass.

This Court vacated its permanent injunction shortly after 4:00 PM CST on August 8, 2022. ECF

No. 147. That same day, DHS announced that new enrollments in MPP would cease immediately

and that no individuals physically present in the United States for an MPP hearing would be

returned to Mexico. See DHS Statement on U.S. District Court’s Decision Regarding MPP,

available   at   https://www.dhs.gov/news/2022/08/08/dhs-statement-us-district-courts-decision-

regarding-mpp. Thus, there is no plausible basis for Plaintiffs to argue that the October 29 decision

is “not yet effective.” Safety-Kleen Corp., 1996 U.S. App. LEXIS 2324, at *2-3.

        Finally, the fact that Section 705 is disjunctive, permitting reviewing courts to “postpone

the effective date of an agency action or to preserve status or rights pending conclusion of the

review proceedings” (emphasis added), cannot change this result. That second clause is subject to

the same temporal limitation as the first clause for the simple reason that the status quo, once a

rule goes into effect, is that the rule is in effect. An order staying a rule or policy after it goes into

effect thus does not preserve, but alters, the status quo. See, e.g., Ne. Ohio Coal. for Homeless &

Serv. Emps. Int’l Union, Loc. 1199 v. Blackwell, 467 F.3d 999, 1006 (6th Cir. 2006) (explaining

an order “preventing the implementation of new regulations” would “disturb[]” rather than

preserve “the status quo”); Off. of Pers. Mgmt. v. Am. Fed’n of Gov’t Emps., AFL-CIO, 473 U.S.

1301, 1305 (1985) (explaining that had the district court issued an order stopping rule from taking

effect that would alter the “status quo”). The status quo presently is that the October 29

memorandum is operative and DHS has ceased new enrollments in MPP and stopped returning

individuals to Mexico under the program.

        Moreover, even were the status quo something other than the circumstances created by the

October 29 memorandum taking effect, an order seeking to preserve the status quo prior to an




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agency action is in effect no different than an injunction. See, e.g., Sambrano v. United Airlines,

Inc., No. 21-11159, 2022 WL 486610, at *4 (5th Cir. Feb. 17, 2022) (“purpose of a preliminary

injunction is to preserve the status quo); Wenner v. Tex. Lottery Comm’n, 123 F.3d 321, 326 (5th

Cir. 1997) (“prohibitory injunction freezes the status quo, and is intended to preserve the relative

positions of the parties until a trial on the merits can be held”); accord D&G Holdings, 156 F.

Supp. 3d at 811 (movant seeks “a status quo injunction under 5 U.S.C. § 705”); Native Angels

Home Health, 2015 WL 12910710, at *1 (similar); Sierra Club, 833 F. Supp. 2d at 19 (similar).

And so any order to “preserve status or rights,” 5 U.S.C. § 705, is also an order “enjoin[ing]” or

“restrain[ing]” “the operation” of Section 1225 that is barred by Section 1252(f).

           C. Plaintiffs lack standing to challenge the October 29 memorandum.

       Plaintiffs argue they have standing based on costs they speculate they may incur without

MPP. Mot. 21. But they do not raise any specific argument for harm based on the October 29

memorandum, arguing instead that the Court’s prior, vacated ruling with respect to their standing

to challenge the June 1 memorandum is the law of the case. Id. Plaintiffs’ amended complaint,

however, raises a new claim challenging a new agency action, and they have the burden to establish

standing for this new claim and the new form of relief they now seek. “[A] plaintiff must

demonstrate standing for each claim he seeks to press,” and “must demonstrate standing separately

for each form of relief sought.” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006).

       The now-reversed prior decisions addressing Plaintiffs’ standing with respect to different

claims challenging a different agency action do not resolve the standing question for Plaintiffs’

new claims. See, e.g., VeroBlue Farms USA, Inc. v. Wulf, 465 F. Supp. 3d 633, 649 (N.D. Tex.

2020) (explaining that “Plaintiffs’ Amended Complaint” “wipe[s] the slate clean”); Green v. Dep’t

of Commerce, 618 F.2d 836, 839 n.9 (D.C. Cir. 1980) (“[T]he doctrine of ‘law of the case’ does

not apply to the fundamental question of subject matter jurisdiction.”); Gonzalez v. ICE, 975 F.3d


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788, 805 (9th Cir. 2020) (same). This is especially true where the prior findings were based on

data on encounters that is now stale and has been superseded by more recent events. See Lewis v.

Casey, 518 U.S. 343, 357 (1996) (“The actual-injury requirement would hardly serve [its] purpose

… if once a plaintiff demonstrated harm from one particular inadequacy in government

administration, the court were authorized to remedy all inadequacies in that administration.”).

       Plaintiffs’ prior evidence submitted with their challenge to the June 1 memorandum was

based entirely on speculation about additional individuals residing in Texas and Missouri, and

further speculation that those individuals would use State services and increase costs. But this

speculation on speculation was not based on any actual evidence that terminating MPP had led to

any increase in the use of State services or costs. Indeed, Plaintiffs have never submitted evidence

showing any increase in the number of noncitizens in these two States, and, in any event, nothing

they previously submitted addressed current circumstances or the effect of the October 29

memorandum. Moreover, their speculative theory of causation—that MPP would decrease border

encounters—has            since         been          proven          false.        See,         e.g.,

https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters             (showing       border

encounters increased after reimplementation of MPP). Unsupported speculation about some

“possible future injury” is not sufficient to establish standing, and in particular, the Supreme Court

has “rejected theories that rest on speculation about the decisions of independent actors.” Clapper

v. Amnesty Int’l USA, 568 U.S. 398, 409, 414 (2014); see also Arpaio v. Obama, 797 F.3d 11, 20

(D.C. Cir. 2015); DaimlerChrysler Corp., 547 U.S. at 344; California v. Texas, 141 S. Ct. 2104,

2117 (2021) (“[W]here a causal relation between injury and challenged action depends upon the

decision of an independent third party … ‘standing … is ordinarily ‘substantially more difficult’

to establish.’” (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 562 (1992))).




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       Even if Plaintiffs could establish some downstream costs traceable to the October 29

memorandum, finding standing wherever a policy might arguably have some incidental costs to a

State would allow States to challenge any change in immigration policy, and improperly draw

courts into all sorts of generalized grievances on behalf of States who were unable to obtain their

preferred policy outcomes through the political process. Article III “serves to prevent the judicial

process from being used to usurp the powers of the political branches” in this manner. Clapper,

568 U.S. at 408; see also Warth v. Seldin, 422 U.S. 490, 498 (1975). The Framers established a

national government with the power to act directly on individuals, replacing a system where the

government had to act through the States, New York v. United States, 505 U.S. 144, 162-66 (1992);

Murphy v. NCAA, 138 S. Ct. 1461, 1476 (2018), and immigration is inherently a subject of national

concern, see Arizona v. United States, 567 U.S. 387, 394-95 (2012); Hines v. Davidowitz, 312 U.S.

52, 62-63 (1941). The absence of suits like this one during the vast majority of our Nation’s history

is powerful evidence that such suits are incompatible with our constitutional structure, which

“contemplates a more restricted role for Article III courts.” Raines v. Byrd, 521 U.S. 811, 828

(1997); see State of Texas v. United States, 106 F.3d 661, 665 (5th Cir. 1997) (noting the political

branches’ general authority over immigration and the court’s “difficulty conceiving of any

judicially discoverable standards for determining whether immigration control efforts by Congress

are constitutionally adequate”).

       A “state official has not suffered an injury in fact to a legally cognizable interest” even if

“a federal government program is anticipated to produce an increase in that state’s population and

a concomitant increase in the need for the state’s resources” because this is simply a generalized

grievance that would improperly “permit nearly all state officials to challenge a host of Federal

laws.” Arpaio v. Obama, 27 F. Supp. 3d 185, 202 (D.D.C. 2014), aff’d, 797 F.3d 11 (D.C. Cir.




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2015). And generalized information showing “illegal immigration is costing the state money” is

insufficient to confer standing. Crane v. Johnson, 783 F.3d 244, 252 (5th Cir. 2015); see also

Arpaio, 797 F.3d at 20. In addition, a party generally lacks “standing to contest the policies of the

prosecuting authority when he himself is neither prosecuted nor threatened with prosecution.”

Linda R.S. v. Richard D., 410 U.S. 614, 619 (1973). Applying that principle here, States have “no

judicially cognizable interest in procuring enforcement of the immigration laws” against someone

else. Sure-Tan, Inc. v. NLRB, 467 U.S. 883, 897 (1984). And, to the extent the States incorrectly

allege that ending MPP confers a benefit on any noncitizen, the States lack standing to challenge

the provision of benefits to a third party. See DaimlerChrysler Corp, 547 U.S. at 342-46.

       The States’ alleged injuries also are not cognizable harms for Article III purposes because

they are self-inflicted and not traceable to the government’s actions. Pennsylvania v. New Jersey,

426 U.S. 660, 664 (1976) (per curiam) (rejecting standing where “[t]he injuries to the plaintiffs’

fiscs were self-inflicted, resulting from decisions by their respective state legislatures”); State of

Fla. v. Mellon, 273 U.S. 12, 17-18 (1927) (States may sue the United States only if they have

suffered a “direct injury”). As the Fifth Circuit explained, State expenditures as a result of

immigration are caused by the State’s own laws, or the State’s decision to opt into federal programs

like Medicaid in order to obtain a benefit—but they are not dictated by federal policy. State of

Texas, 106 F.3d at 666. While this conclusion was part of that court’s Tenth Amendment analysis,

id., the causal reasoning is equally true in the standing context and applicable to any injuries

alleged on the basis of compliance with the State’s own laws, such as provision of driver’s licenses

to immigrants under Texas law. See Tex. Transp. Code § 521.142(a).

       Accordingly, Plaintiffs lack standing to challenge, or stay, the October 29 memorandum.




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           D. Plaintiffs’ APA claim is not reviewable.

       Even if Plaintiffs had standing, they still cannot raise a challenge to the October 29

memorandum.3 First, the Supreme Court confirmed that Secretary’s exercise of his authority under

Section 1225(b)(2)(C)—the basis for MPP—is entirely discretionary. Texas, 142 S. Ct. at 2541-

42. The APA precludes review of “administrative decisions that courts traditionally have regarded

as ‘committed to agency discretion.’” Texas v. United States, 809 F.3d 134, 165 (5th Cir. 2015)

(quoting Lincoln v. Vigil, 508 U.S. 182, 191 (1993)); see 5 U.S.C. § 701(a)(2); Arizona, 567 U.S.

at 396; Heckler v. Chaney, 470 U.S. 821, 831 (1985); Town of Castle Rock v. Gonzales, 545 U.S.

748, 761 (2005); Crane, 783 F.3d at 247.

       Second, Plaintiffs lack a cause of action under the APA. Congress has made clear that only

noncitizens may challenge immigration enforcement actions, precluding States from raising claims

based on Section 1225(b). The APA does not provide a cause of action when another “statute[]

preclude[s] judicial review,” 5 U.S.C. § 701(a)(1), and a detailed review scheme that allows only

particular parties to challenge certain executive actions is “strong evidence that Congress intended

to preclude [other parties] from obtaining judicial review.” United States v. Fausto, 484 U.S. 439,

448 (1988). Congress has enacted many provisions “aimed at protecting the Executive’s discretion

from the courts” and limiting review to claims brought by individual noncitizens. Reno v. Am.-

Arab Anti-Discrimination Comm. (“AADC”), 525 U.S. 471, 486–87 (1999); see id. at 82-85; 8

U.S.C. §§ 1226(e); 1226a(b)(1); 1229c(f); 1231(h); 1252(a)(2)(A), (B), (C), (b)(4)(D), (b)(9), (d),

(f), (g); Am. Immigr. Laws. Ass’n v. Reno, 199 F.3d 1352, 1359–60 (D.C. Cir. 2000). For example,

under Section 1252(a)(2)(B)(ii) Congress provided that “no court shall have jurisdiction to review

... any other decision or action … the authority for which is specified … to be in the discretion of


3
 To the extent the Court finds the Fifth Circuit’s earlier ruling on these grounds controlling,
Defendants still wish to preserve these arguments for appeal.

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the ... Secretary.” “[T]he contiguous-territory return authority in section 1225(b)(2)(C) is

discretionary,” Texas, 142 S. Ct. at 2544, and nothing in the October 29 memorandum bars line

officers from using the return authority where appropriate, it simply ends programmatic use

through MPP. Moreover, if a decision is discretionary, neither the “discretionary judgment,” nor

“the manner in which that discretionary judgment is exercised,” is “subject to review.” Loa-

Herrera v. Trominski, 231 F.3d 984, 991 & n.12 (5th Cir. 2000); see id. at 991 & n.12 (explaining

the agency’s use of parole is thus not subject to review); cf. Patel v. Garland, 142 S. Ct. 1614,

1622 (2022) (holding that section 1252(a)(2)(B)(i), which bars jurisdiction to review “any

judgment regarding the granting of relief” under certain INA provisions bars review of “judgments

of whatever kind” covered by the statute, “not just discretionary judgments or the last-in-time

judgment,” and so “encompasses not just the granting of relief but also any judgment relating to

the granting of relief”).4

        For these reasons, States are not within the zone of interests of Section 1225(b). See,

e.g., Thompson v. N. Am. Stainless, 562 U.S. 170, 177 (2011); Fed’n for Am. Immigration Reform

v. Reno, 93 F.3d 897, 901 (D.C. Cir. 1996); cf. Sure-Tan, 467 U.S. at 897 (finding “no judicially

cognizable interest in procuring enforcement of the immigration laws”).




4
  Although Patel addressed section 1252(a)(2)(B)(i), its reasoning is relevant to section
1252(a)(2)(B)(ii). As the Supreme Court explained in Kucana v. Holder, 558 U.S. 233, 247 (2010),
“[o]ther decisions specified by statute ‘to be in the discretion of the Attorney General,’ and
therefore shielded from court oversight by § 1252(a)(2)(B)(ii), are of a like kind” to those covered
by section 1252(a)(2)(B)(i). Accordingly, section 1252(a)(2)(B)(ii) also extends not just to final
decisions or actions, but “any [decision or action] relating to the granting of relief.” Patel, 142 S.
Ct. at 1622. Moreover, Patel post-dates the Fifth Circuit’s decision in this case, and thus renders
any aspect of that case construing section 1252 inconsistent with Patel no longer binding. See, e.g.,
Cent. Pines Land Co. v. United States, 274 F.3d 881, 893 (5th Cir. 2001) (explaining panel decision
binding until “the decision is overruled, expressly or implicitly, by either the United States
Supreme Court or by the Fifth Circuit sitting en banc”).

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II.    Plaintiffs are not likely to succeed on the merits of their APA claim.

       Even if the States could raise challenges to the October 29 memorandum, their APA claim

would nonetheless fail on the merits. Plaintiffs argue the memorandum is arbitrary and capricious

because, in their view, it did not adequately consider certain factors, see Mot. 7-21, but there is no

merit to any of their arguments. Review under the APA’s arbitrary and capricious standard is

“deferential, and a court may not substitute its own policy judgment for that of the agency.” FCC

v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021). A court’s role is limited to evaluating

whether the agency “reasonably considered the relevant issues and reasonably explained the

decision.” Id.; see also DHS v. Regents of the Univ. of California, 140 S. Ct. 1891, 1933 (2020);

Motor Vehicle Mfrs. Ass’n. v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 43 (1983). The October

29 memorandum easily meets this standard.

       Following this Court’s remand order, the Secretary “once more assessed whether MPP

should be maintained, terminated or modified in a variety of ways.” AR2. In doing so, the Secretary

reviewed “multiple court decisions, filings, and declarations related to MPP,” “data regarding

enrollments in MPP, encounters at the border, and outcomes in removal proceedings,” “previous

Departmental assessments of MPP,” and “news reports and publicly available sources of

information pertaining to conditions in Mexico.” Id. He “met with a broad and diverse array of

internal and external stakeholders, including officials from across the federal government working

on border management, state and local elected officials from across the border region, border

sheriffs and other local law enforcement officials, and representatives from nonprofit organizations

providing legal access and humanitarian aid across the southwest border.” Id. He also “examined

considerations that the District Court determined were insufficiently addressed in the June 1

memo, including claims that MPP discouraged unlawful border crossings, decreased the filing of

non-meritorious asylum claims, and facilitated more timely relief for asylum seekers,” and


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“predictions that termination of MPP would lead to a border surge, cause the Department to fail to

comply with alleged detention obligations under the [INA], impose undue costs on states, and put

a strain on U.S.-Mexico relations.” Id. And the Secretary considered perspectives from “those who

support re-implementation of MPP, those who support terminating the program, and those who

have argued for continuing MPP in a modified form.” Id.

       After this thorough review, the Secretary concluded that MPP had mixed effectiveness at

achieving its goals and that it “impos[ed] substantial and unjustifiable human costs on the

individuals who were exposed to harm while waiting in Mexico.” AR2. He also concluded that the

agency could pursue alternatives that will more effectively “disincentivize irregular migration

while incentivizing safe, orderly, and humane pathways.” Id. The Secretary noted that

“[s]ignificant evidence indicates that individuals awaiting their court hearings in Mexico under

MPP were subject to extreme violence and insecurity at the hands of transnational criminal

organizations that profited by exploiting migrants’ vulnerabilities,” and that there is little that can

be done to remedy this fundamental problem with the program because “the United States has

limited ability to ensure the safety and security of those returned to Mexico.” Id. at 3. In addition

“[e]fforts to implement MPP” diverted “attention from more productive efforts to fight

transnational criminal and smuggling networks and address the root causes of migration,” and the

“the concentration of resources, personnel, and aid efforts on the northern border of Mexico”

necessary to implement MPP prevented DHS from carrying out “broader regional assistance

efforts that would more effectively and systematically address the problem of irregular migration

and better protect our border.” Id. Ultimately, the Secretary concluded “the benefits do not justify

the costs, particularly given the way in which MPP detracts from other regional and domestic

goals, foreign-policy objectives, and domestic policy initiatives,” id., and “there are inherent




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problems with the program that no amount of resources can sufficiently fix,” id. at 4. Plaintiffs’

arguments that the Secretary failed to “examine the relevant data and articulate a satisfactory

explanation,” Mot. 8, lack merit.

       First, Plaintiffs argue that the Secretary failed to adequately consider how using MPP

would avoid alleged “violations of the INA’s clear detention mandate.” Mot. 8-10. Plaintiffs

contend the Fifth Circuit already held that “Section 1225(b)(2)(A) provides that, under certain

circumstances, ‘the alien shall be detained’” creating “a mandatory statutory command,” and argue

nothing in the Supreme Court’s decision upset that determination. Mot. at 8-9. The Supreme Court

has held, however, that “the INA expressly authorizes DHS to process applicants for admission

under a third option: parole.” Texas, 142 S. Ct. at 2543. The Fifth Circuit’s ruling that Section

1225(b)(2)(A) contains a detention mandate for any noncitizens not returned under MPP depended

on that court’s conclusion that parole was not a permissible alternative to detention or return.

See Texas, 20 F.4th at 996-67. Moreover, the Supreme Court has also held that even if Section

1225(b)(2)(A) does mandate detention, the Secretary is not obligated to return noncitizens to

Mexico under “section 1225(b)(2)(C)” or to use that provision as a “mandatory cure of any

compliance with the Government’s detention obligations.” 142 S. Ct. at 2541. The Court explained

that “Congress conferred contiguous-territory return authority in expressly discretionary terms”

and the “statutory grant of discretion” to use MPP—or not use MPP—is not limited by whether

the government can otherwise “comply with its detention obligations.” Id. at 2541-42. Because

“the contiguous-territory return authority in section 1225(b)(2)(C) is discretionary—and remains

discretionary notwithstanding any violation of section 1225(b)(2)(A),” id. at 2544, there is no merit

to Plaintiffs’ argument that the Secretary was required to give controlling weight to the possibility

of “using MPP to reduce [ ] noncompliance with” Section 1225(b)(2)(A), Mot. at 10. Plaintiffs’




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present theory is simply the same argument the Supreme Court already rejected, in the guise of an

arbitrary-and-capricious challenge.

       In any event, the Secretary did consider Section 1225(b)(2)(A). The Secretary did consider

it but disagreed that Section 1225 imposes “a near-universal detention mandate for all inadmissible

applicants for admission either as a general matter or conditionally where noncitizens are not

returned to a contiguous territory.” AR31. In fact, the memorandum contains a lengthy section

entitled “Relationship between Implementation of MPP and Statutory Mandates” that specifically

discusses how reading Section 1225 to impose such a near-universal mandate is inconsistent with

the statutory text, the history of immigration detention in this country, and the agency’s consistent

and longstanding interpretation of its statutory authorities. AR30-33; see also AR158-70, 448, 990,

1240, 1399, 1471, 1580, 1590, 1819, 3568.

       In particular, the memorandum notes that “[p]ursuant to Section 1182(d)(5)’s parole

authority, Congress has expressly granted DHS the broad authority to release applicants for

admission from detention as an exercise of the Department’s parole power,” which “has been

exercised for as long as the federal government has been regulating immigration.” Id. at 31;

see also infra at 32-34 (further discussing the agency’s consideration of its parole authority). And

although Congress would need to appropriate substantial additional funds to allow DHS to detain

everyone potentially subject to detention under Section 1225, it has never done so since enacting

Section 1225(b)(2)(C), nor has it ever amended Section 1225 to mandate contiguous-territory

return for individuals the agency lacks the resources to detain. AR33 n.124. The Supreme Court

thus noted “the INA expressly authorizes DHS to process applicants for admission under a third

option: parole” under “8 U.S.C. § 1182(d)(5)(A),” and “[e]very administration, including the

Trump and Biden administrations, has utilized this authority to some extent.” 142 S. Ct. at 2543.




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The “available of the parole option additionally makes clear that the Court of Appeals erred in

holding the INA required the Government to continue implementing MPP.” Id. at 2544.

       DHS’s interpretation of the statutes it is charged with implementing is entitled to Chevron

deference, as the Fifth Circuit acknowledged: “DHS’s new Memoranda invoke deference under

Chevron, USA, Inc. v. NRDC, 467 U.S. 837 (1984) … [s]o Chevron deference, which wasn’t at

play before, is relevant now.” Texas, 20 F.4th at 960.5 Plaintiffs thus cannot succeed on their claim

that DHS must use “MPP to reduce [ ] noncompliance with their detention mandates,” Mot. at 10,

or a claim that the Secretary did not address this issue when he considered the issue at length and

concluded that the “decision to terminate MPP creates no conflict with the detention authorities in

Section 1225.” AR33.

       Second, Plaintiffs argue that the Secretary failed to adequately consider “MPP’s deterrent

effect in reducing dangerous attempted illegal border crossings, as well as MPP’s reduction of

unmeritorious asylum claims.” Mot. 10-11. In fact, however, the Secretary “presumed … that MPP

contributed to decreased migration flows,” AR27, when making his decision, but “concluded that

this benefit cannot be justified, particularly given the substantial and unjustifiable human costs on

the migrants …, and the way in which MPP detracts from other regional and domestic goals and

policy initiatives … to manage migratory flows.” Id. at 27. The agency explained, “MPP is not the

only, and certainly not the preferred, means of tackling irregular migration” and DHS “is currently

pursuing a range of other measures that it anticipates will disincentivize irregular migration,”

“addressing root causes and building regional solutions,” and “channeling migration through safe

and orderly pathways.” Id. at 34-35.



5
  The Fifth Circuit faulted the government for not raising Chevron deference with respect to the
June 1 memorandum in its briefs filed prior to the October 29 memorandum, but that has no bearing
on whether such deference is due to the October 29 memorandum.

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       Plaintiffs acknowledge the agency “extensively discussed conditions for migrants in

Mexico,” but nonetheless argue the Secretary did not adequately address “hardships befalling

aliens who make the dangerous journey to the southern border.” Mot. 10.6 To the extent Plaintiffs

assert that MPP deterred certain individuals without meritorious asylum claims from making the

journey to the border in the first place, DHS has other avenues for quickly processing, and thereby

deterring, such individuals, such as “employing expedited removal to rapidly, but humanely, return

certain individuals” “[a]t the border” or “encountered unlawfully crossing between [ports of

entry],” in some cases leading to these individuals being “returned to their countries within a few

days of being encountered.” AR35. DHS’s efforts are also aimed at “providing alternative”

pathways to seek protection without making what the Secretary acknowledged was an “often-

dangerous journey” to the border. Id. at 36; see also id. at 37.

       The memorandum also details how DHS is working with regional partners to “manage

migratory flows” throughout the region and obtain agreements with other countries to “combat[ ]

human smuggling and trafficking, and expanding humane enforcement efforts.” AR36. This

includes “working bilaterally with countries across the region to build law enforcement capacity,

tackle transborder crime, and slow migratory flows.” Id. “The Administration is also expanding

efforts to address root causes of migration and enhance legal pathways for individuals who intend

to migrate, as well as building and improving asylum systems in other countries and scaling up

protection efforts for at-risk groups,” which will “reduce incentives to come to the United States

to seek protection and, for those who still choose to do so, reduce incentives to cross the border

unlawfully.” Id. There is thus no basis for Plaintiffs’ claim that the Secretary did not consider




6
 Plaintiffs lack standing to assert a claim based on alleged injuries to third parties or to seek relief
on this basis. DaimlerChrysler Corp., 547 U.S. at 352; see also supra at 19-20.

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harms that might be avoided by deterring individuals from making the journey to the southern

border. Mot. at 10.

       Plaintiffs also argue that the Secretary did not adequately address problems created by false

asylum claims or how MPP addressed these problems. Mot. at 10. Plaintiffs argue that when MPP

was first announced “approximately 9 out of 10 asylum claims from the Northern Triangle

countries” were “non-meritorious.” Mot. at 10. The Secretary also addressed this issue, noting that

DHS could not identify any basis for this statistic, that the evidence in the record showed that a

much higher rate of such claims were meritorious, and (as explained further below) that using MPP

to discourage asylum seekers led to individuals with meritorious claims abandoning them and

imposed additional costs that far outweighed whatever effects MPP had on non-meritorious claims.

AR24-25.

       Plaintiffs next explain that the “harm” they believe the Secretary should have further

considered was human trafficking related to migrant flows. Mot. at 11. Plaintiffs acknowledge the

Secretary did address whether “terminating MPP contributed to an increase in these crimes by

looking at the data for seizures of narcotics” and noted that this data showed a decline in trafficking

even while MPP was not in effect. Id. Plaintiffs argue that statistics related to narcotics smuggling

are not necessarily indicative of trafficking activity, and that the Secretary thus failed to adequately

assess whether “the implementation of MPP” reduced “the opportunities for human trafficking.”

Mot. at 11. The Secretary acknowledged that seizures of narcotics are not necessarily indicative of

trafficking activity, but explained that it nonetheless constitutes “the best available data,” and does

not indicate that MPP had any effect on trafficking. AR29. Plaintiffs do not point to any other data

that the Secretary should have considered on this point or that contradicts the agency’s statement

that the “Department also has carefully reviewed the available information and has not seen any




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evidence that MPP had any effect on human trafficking and crime.” Id.; see also id. at 28 n.102

(explaining that the Secretary reviewed the specific allegations Plaintiffs made as part of this case

with respect to human trafficking).

       The Secretary also considered the extensive evidence in the record of kidnappings and

other crimes perpetrated on individuals waiting in Mexico as a result of MPP. AR16-17. The

Secretary reviewed various news stories and reports, court documents and decisions, and prior

agency assessments of MPP that detailed the substantial risk of kidnapping migrants faced while

waiting for their hearings as a part of MPP, and weighed these negative consequences of continuing

the program. Id.; see AR81-137, 171, 710-29, 745-828, 834, 892, 1210, 1303, 1311-79, 1431-34,

1671, 1799-1805, 1897-1916, 2609-13. The Secretary is not required to ignore these serious

hardships and dangers, especially after explaining that the United States has limited ability to

address this fundamental problem with MPP.

       Third, Plaintiffs argue that the Secretary failed to adequately justify factual determinations

regarding in absentia removal orders. Mot. 12. Here, Plaintiffs contend that the October 29

memorandum contains “completely different numbers regarding in absentia removal orders than

those contained in the June 1 Memorandum’s administrative record” but do “not explain the

discrepancy.” Mot. at 12. They also fault the Secretary for not addressing the Fifth Circuit’s

conclusion that in absentia removal rates were also high at certain times prior to MPP, or

adequately explaining why high in absentia rates “is not an indicator of MPP working.” Id. There

is no merit to any of these arguments.

       The memorandum expressly addresses each of these issues. The agency explained that

“noncitizens in MPP were substantially more likely to receive in absentia removal orders than

comparable noncitizens who were not placed in MPP during the relevant time period.” AR22.




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Overall 32 percent of individuals enrolled in MPP received in absentia orders, while only 13

percent of comparable noncitizens outside of MPP received in absentia orders during the same

time period—“about two-fifths of the rate of the MPP group.” AR22-23. The agency also

explained in detail how it had “updated its methodology” to arrive at these numbers and generate

more accurate statistics, noting that it had previously omitted cases that involved an in absentia

order if there was a subsequent motion to reopen, “thus undercounting the total number of in

absentia orders,” and had only included numbers for MPP cases that reached a final disposition,

rather than all MPP cases, including those still pending. AR22 n.78. Plaintiffs are thus incorrect

that the agency did not explain the basis for these updated numbers.

       The agency also explained why the high in absentia rate was relevant, noting the

“considerably higher” rate for MPP cases versus “comparable non-MPP cases might not, by itself,

indicate a problem with MPP,” but there is also substantial evidence that individuals in MPP

abandoned their claims, not because they did not have valid claims, but rather because of

dangerous conditions in Mexico, “including the threat of violence and kidnapping.” AR24 & n. 84-

85. The record contains evidence that noncitizens often abandoned their claims because of “serious

threats to their personal safety,” “inadequate and unreliable access to food and shelter,” and

because of lack of adequate notice of their hearings. Id.; see AR81-137, 171, 710-29, 745-828,

834, 892, 1210, 1303, 1311-79, 1431-34, 1671, 1799-1805, 1897-1916, 2609-13; see also AR44-

57. And only a “remarkably low 1.1 percent” of individuals placed in MPP were granted relief or

protection, a substantially lower rate of relief—“26 times” lower—than expected when compared

to similar individuals not placed in MPP, lending further support to the conclusion that MPP

caused individuals with potentially meritorious claims to abandon them. AR24-25.

       Plaintiffs’ argument that the Secretary failed to “contest the Fifth Circuit’s conclusion ‘that




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in absentia removal rates were similar prior to MPP,’” Mot. at 12 (quoting Texas, 20 F.4th at 991-

92), is similarly meritless. The agency specifically addressed data showing “in absentia rates in

removal proceedings were also quite high in 2015 and 2017—42% and 47%”—but explained

“there are critical methodological differences between the ways in which these numbers are

calculated and the in absentia rates presented in [the October 29] memorandum.” AR23 n.82. The

in absentia rates discussed in the memorandum show in absentia orders “as a share of the total

number of cases” while the statistics from past years addressing removal proceedings measure “in

absentia orders as a share of completed cases only, which excludes cases that remain ongoing that

are disproportionately likely to not result in such orders.” Id.; see also AR951-74. Recalculating

those numbers as a share of total cases sent to the immigration courts in those years “yields rates

of 21 percent and 20 percent … one-half the in absentia and termination rate found in MPP cases.”

AR23 n.82.

       The MPP in absentia rate is thus substantially higher than the rates cited by the Fifth Circuit

and this Court in its prior decision. That rate, combined with the evidence discussed above, further

supports the conclusion that MPP led to abandonment of potentially meritorious claims. Based on

this evidence, the other evidence in the record and “the Department’s experience with MPP,” the

Secretary reasonably “determined that the program did not succeed in a sufficient number of cases

at achieving timely and reliable adjudication of migrants’ removal proceedings.” AR23. “Multiple

features of MPP, especially combined with the difficulties in accessing counsel and migrants’

living experience in Mexico … led the Secretary to conclude that the program deterred too many

meritorious asylum claims at the expense of deterring non-meritorious claims.” Id. “[T]he return-

to-contiguous-territory authority at INA § 235(b)(2)(C) is predicated on the notion that individuals

will be able to pursue their removal proceedings from within Mexico; the fact that so many




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individuals enrolled in MPP were unable to complete their proceedings due to their tenuous

situation in Mexico undercuts a key requirement of the statute.” Id.

       Fourth, Plaintiffs argue that the Secretary failed to adequately examine whether ending

MPP would lead to violations of limits on parole authority. Mot. 12-18. Plaintiffs claim the

“October 29 Memoranda failed to consider how terminating MPP—combined with Defendants’

inability to detain all arriving aliens—leads to increased violations on parole authority.” Mot. 11-

12. Again, this theory simply repackages Plaintiffs’ argument that a lack of detention space makes

contiguous-territory return mandatory. The Supreme Court has already unambiguously rejected

that reading of the statute. Texas, 142 S. Ct. at 2541 (rejecting contention that Congress “intended

section 1225(b)(2)(C) to operate as a mandatory cure of any noncompliance with the Government's

detention obligations”). Among other things, the Court recognized that, whatever the statutory

limits on parole may be, “the availability of the parole option” as an alternative to MPP makes

clear that lack of detention space does not require the Secretary to use MPP for individuals DHS

lacks the resources to detain. Id. at 2543-44.

       Even setting that aside, Plaintiffs’ theory fails on its own terms. Plaintiffs argue that

Congress has “cabined the Executive’s parole authority” and that it must be used only on a “case-

by-case basis,” Mot. at 13, but they point to nothing showing that DHS is not doing so, and there

is certainly nothing in the October 29 memorandum that says DHS plans to categorically parole

individuals as an alternative to MPP. The memorandum notes that “the statute does not set any

limit on the number of individuals DHS can decide to release on parole,” “[n]or does it provide

that the agency cannot rely on its limited resources and detention capacity to release noncitizens

otherwise subject to detention under section 1225.” AR31. Instead “Congress simply required that

parole decisions be made on a case-by-case basis and that they be based on ‘urgent humanitarian




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reasons’ or ‘significant public benefit.’” Id. Plaintiffs do not contest the statement that the statute

does not define these ambiguous terms, leaving it to the agency to define them, or point to anything

that contradicts that agency’s explanation that it “has long interpreted the phrase “significant public

benefit’ to permit it to parole noncitizens ‘whose continued detention is not in the public interest

as determined by’ specific agency officials.” Id. at 32 (citing 8 C.F.R. § 212.5(b)(5)). The agency’s

consistent interpretation over multiple decades that detention is not in the public interest where,

“in light of available detention resources, detention of a specific noncitizen would limit the

agency’s ability to detain another noncitizen whose release may pose a greater risk of flight or

danger to the community,” AR32, is entitled to deference. See also AR158-70, 448, 990, 1240,

1399, 1471, 1580, 1590, 1819, 3568.7

       The remainder of Plaintiffs’ arguments are based on the unsupported assumption that DHS

is not making parole decisions on a case-by-case basis. Plaintiffs argue, for example, that the

memorandum does not adequately explain or justify DHS making categorical parole decisions or

paroling en masse. Mot. at 13-14. But the October 29 memorandum does not say DHS will exercise




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         Plaintiffs repeatedly appeal to legislative history to argue that Congress has limited DHS’s
authority to use parole. Mot. at 16-17. But that history cannot justify imposing limitations on parole
beyond those in the statutory text. See Azar v. Allina Health Services, 139 S. Ct. 1804, 1814 (2019).
In any event, Plaintiffs’ account is misleading. They rely on the IIRIRA House Report, which
objected that parole “ha[d] been used increasingly to admit entire categories of [noncitizens]”—
for example, “Cuban nationals”—“with the intent that they will remain permanently in the United
States.” H.R. Rep. No. 469, 104th Cong., 2d Sess. Pt. 1, at 140 (1996) (emphasis added) (cited in
Cruz-Miguel v. Holder, 650 F.3d 189, 199 n.15 (2d Cir. 2011)). Parole for that purpose is not at
issue here: Inadmissible applicants for admission in removal proceedings are paroled to complete
those proceedings. Moreover, the House Report is a dubious guide to interpreting Section
1182(d)(5)(A) because Congress did not enact the House’s proposed constraints on parole
authority, which would have tightly limited the substantive grounds for release. See id. at 77-78.
The House largely receded to the Senate’s amendment to Section 1182(d)(5)(A), which proposed
essentially the current standard more broadly authorizing release to advance a significant public
benefit. See H.R. Rep. No. 828, 104th Cong., 2d Sess. 245 (1996) (Conference Report).



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its parole authority on a categorical basis, and Plaintiffs cite no evidence that DHS is not making

case-by-case determinations. They simply point to the number of individuals paroled, not evidence

of how those individual decisions were made. Mot. 15. But Plaintiffs cannot dispute that “the

[parole] statute does not set any limit on the number of individuals DHS can decide to release on

parole.” AR31.8

       Finally, Plaintiffs argue that the Secretary failed to adequately consider costs to States and

their reliance interests. Mot. 19-21. Plaintiffs argue “DHS devoted just a single paragraph” to “this

factor,” Mot. at 19, but the memorandum includes a lengthy section titled “Addressing the

Concerns of States and Border Communities,” AR28-30. The memorandum specifically discusses

Plaintiffs’ allegations that “the termination of MPP could lead to an increased number of

noncitizens without proper documentation in their States, which might cause the States to incur

additional costs of driver’s licenses, public education, state-funded healthcare, and law

enforcement and correctional costs,” as well as allegations it would lead to “an increase in

organized crime, human trafficking, and drug cartel activity.” AR28. The “Secretary takes these

concerns seriously,” and “sought to understand and address impacts … on communities,”

including “consult[ing] with numerous state and local officials across the [southwest border] about

the Department’s border management strategy.” AR28. Plaintiffs do not cite any specific evidence



       8
          Plaintiffs do not directly challenge DHS’s use of the parole authority. But even if they
had, the Fifth Circuit has held that “[t]he Attorney General’s discretionary judgment regarding …
parole” and “the manner in which that discretionary judgment is exercised,” including “whether
the procedural apparatus supplied satisfies regulatory, statutory, and constitutional constraints” are
“not ... subject to review.” Loa-Herrera, 231 F.3d at 991 & n.12 (quotation marks and citation
omitted); see also Alabi v. DHS-ICE, No. 3:19-CV-2717, 2020 WL 2529379, at *3 (N.D. Tex.
Apr. 29, 2020), report and recommendation adopted, No. 3:19-CV-02717, 2020 WL 2527198
(N.D. Tex. May 15, 2020); Maldanado v. Macias, 150 F. Supp. 3d 788, 794-95 (W.D. Tex. 2015)
(collecting cases). To the extent Plaintiffs’ actual complaint is that neither the parole statute nor
the regulation contains any numerical cap on paroles, such a claim would also be untimely, see 8
U.S.C. § 2401, and is an issue Plaintiffs should take up with Congress rather than this Court.

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of State costs the Secretary failed to consider, arguing only generally that the Secretary should

have to done more “to quantify these costs … in order to perform such a cost-benefit analysis.”

Mot. 19. But they cite no authority requiring the agency to quantify costs Plaintiffs cannot even

specifically identify, and the APA “imposes no general obligation on agencies to conduct or

commission their own empirical or statistical studies.” Prometheus Radio Project, 141 S. Ct. at

1160 (noting it “is not unusual in day-to-day agency decisionmaking” for an agency to lack

“empirical or statistical data”).

        The Secretary was clear that the agency has taken, and “will continue to take, steps

designed to minimize adverse consequences of any policy shifts on border states.” AR28; see also

id. at 28-29 (describing various steps the agency is taking to eliminate costs to border states).

Among other things, DHS explained that it was pursuing “policies and practices that will more

effectively and more humanely” help to “stem[] migration flows.” Id. at 34; see id. at 35 (“To

disincentivize irregular migration, the Administration is pursuing a multi-pronged approach.”).

And the Secretary considered the potential costs the States might nonetheless incur, and

determined, when weighed against the various other policy concerns and costs, that the potential

costs to the States of terminating MPP and any potential benefits of continuing MPP did not

outweigh the program’s costs:

        [T]he fact that some noncitizens might reside in the United States rather than being
        returned to Mexico and thus access certain services or impose law enforcement
        costs is not, in the Secretary’s view, a sufficiently sound reason to continue MPP.
        Federal immigration policy virtually always affects the number of people living
        within the States. Notably, not all of those burdens are borne by border States—
        many noncitizens proceed to interior States; others are detained by the federal
        government. In this case, the Secretary has made the judgment that any marginal
        costs that might have been inflicted on the States as a result of the termination of
        MPP are outweighed by the other considerations and policy concerns.

AR30. Plaintiffs may disagree with the Secretary’s ultimate conclusion, but they cannot succeed




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on a claim that the Secretary did not consider potential costs to States. The Secretary examined the

relevant available evidence and his decision reflects a “rational connection between the facts found

and the choice made.”’ State Farm, 463 U.S. at 43. Nothing more is required.

        The same is true with respect to Plaintiffs’ arguments on reliance interests. Plaintiffs argue

the Secretary should have given more consideration to their reliance interests, but they do not, and

never have, actually articulated what actions they took in reliance on MPP that they think must be

considered. The Secretary noted that “even after his many consultations” with State and local

officials, at no point was he ever made aware “of any State that has materially taken any action in

reliance on the continued implementation (or in response to the prior termination) of MPP,” and

he correctly noted that “State-plaintiffs in the litigation also have not identified any specific actions

they took in reliance on MPP.” AR30. Plaintiffs do not meaningfully respond to this statement,

nor have they taken the opportunity in their amended complaint or their motion to clarify what

exactly it is they believe the Secretary was supposed to consider. The closest Plaintiffs come to

identifying their purported reliance interests is one phrase in their motion asserting that he did not

consider “the reliance interests of States in the control of the flow of aliens—as assisted by MPP.”

Mot. at 21. But this is merely a policy preference, not some action they took in reliance on MPP.

And, in any event, the Secretary did consider MPP’s impact on the flow of migrants. See, e.g.

AR27 (addressing “Impact of MPP and its Termination on SWB Migration flows”).

        Plaintiffs also argue that “Regents requires DHS to actually consider Plaintiffs’ … reliance

interests” and that the fact that MPP was a discretionary program does not bar them from

establishing reliance interests because the DACA program at issue in Regents was also

discretionary. Mot. at 20. But cases requiring an agency to consider reliance interests have

traditionally limited this requirement to new policies that would lead to some unexpected civil or




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criminal liability for the regulated industry or individuals—not potential incidental effects on third

parties or States. See, e.g., N.L.R.B. v. Bell Aerospace Co. Div. of Textron, 416 U.S. 267, 295

(1974) (noting that industry reliance on past agency decisions did not limit subsequent agency

action where there were no “fines or damages involved” and no “new liability sought to be imposed

on individuals for past actions which were taken in good-faith reliance” on prior agency

pronouncements). Plaintiffs have never argued that they were regulated by MPP, or that they have

incurred some additional legal liability as a result of any actions they took in reliance on MPP.

       Regents did not alter this rule in holding that the decision to terminate DACA did not

adequately address “reliance interests of DACA recipients”—the individuals regulated by DACA

and directly impacted by its rescission. 140 S. Ct. at 1914-15. There the Supreme Court identified

reliance interests that are far different than the mere policy preference for MPP that Plaintiffs raise

here. See id. (noting “need for DACA recipients to reorder their affairs” because these individuals

had made decisions and commitments based on the “reliance interests engendered by DACA,” and

were potentially “caught in the middle of a time-bounded commitment” such as needing additional

time to “graduate from their course of study, complete their military service, or finish a medical

treatment regimen”). The cases on which Regents is based are similarly limited to regulated entities

taking actions in reasonable reliance on a longstanding policy. See Encino Motorcars, LLC v.

Navarro, 136 S. Ct. 2117, 2126 (2016) (addressing regulatory change that would upset “decades

of industry reliance” and potentially result in “substantial” and potentially “retroactive” legal

“liability”); United States v. Penn. Indus. Chem. Corp., 411 U.S. 655, 670-75 (1973) (addressing

whether regulated corporation could assert reliance on longstanding agency interpretation of

statute as defense to criminal liability under a new agency interpretation); see also, e.g., Perez v.

Mortg. Bankers Ass’n, 575 U.S. 92, 105-06 (2015) (describing this “constraint[ ] on agency




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decisionmaking” as applying in the context of “regulated entities” with “settled reliance interests”

based on “previous agency interpretations” who may now face “liability” under the agency’s new

interpretation or approach). The States can claim no similar reliance on MPP, which was a novel

program that was only briefly in effect, not the type of long-standing agency practice that can lead

to reliance interests. See Regents, 140 S. Ct. at 1913 (discussing “longstanding policies”); Encino

Motorcars, 136 S. Ct. at 2126 (“decades of industry reliance”); Bell Aerospace, 416 U.S. at 275,

289; Penn. Indus. Chem. Corp., 411 U.S. at 675.

       As the Secretary noted, any claimed reliance interest is further undermined by the fact that

“[n]o administration has ever done what State-plaintiffs in the litigation argue is required here—

detain or return to Mexico everyone that the Department encounters along the border,” and “States

cannot have a reliance interest based on something that has never previously been implemented.”

AR30. Even while MPP was in place, it applied to only a very small percentage of noncitizens

arriving at the southwest border, undermining any claimed reliance interest or allegation of costs

traceable to MPP’s termination, id., and individuals who were discouraged from pursuing their

claims because of MPP may have had meritorious claims for relief. Plaintiffs cannot claim injury

from allowing individuals to seek types of relief from persecution that Congress has specifically

provided them by statute, or any reliance on a program that was only briefly in place and put up

significant barriers to individuals pursuing statutory rights Congress gave them. See Arizona, 567

U.S. at 396-97, 401-02; cf. Penn., 411 U.S. at 675 (“reliance” must be “reasonable under the

circumstances”).

       In sum, the Secretary rationally determined that there were serious questions about the

effectiveness of MPP and that its intended benefits did not outweigh its many costs. The Secretary

also determined that limited agency and diplomatic resources could instead be devoted to various




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alternatives that will more effectively achieve the agency’s goals and better align with ongoing

diplomatic efforts to manage regional migration. The Supreme Court acknowledged the

“significant burden upon the Executive’s ability to conduct diplomatic relations with Mexico” that

was created by requiring it to continue MPP. Texas, 142 S. Ct. at 2543 (noting the need for courts

to take care to avoid “unwarranted judicial interference in the conduct of foreign policy” absent an

“affirmative intention of the Congress clearly expressed” and which the Court found lacking in the

context of MPP). Such diplomatic and foreign-policy considerations are inextricably interwoven

with immigration policy. See Arizona, 567 U.S. at 396-97 (“[T]he dynamic nature of relations with

other countries requires the Executive Branch to ensure that enforcement policies are consistent

with this Nation’s foreign policy.”); see also id. at 396 (noting agency’s “broad discretion” is “[a]

principal feature of the removal system”). The 43-page memorandum, supported by a 3,680-page

record, provides more than adequate explanation for the decision and easily satisfies the APA’s

requirements for reasoned analysis. See Bowman Transp., Inc. v. Ark.-Best Freight Sys., Inc., 419

U.S. 281, 286 (1974); F.C.C. v. Fox Television Stations, 556 U.S. 502, 515-16 (2009) (agency

“need not demonstrate to a court’s satisfaction that the reasons for the new policy are better than

the reasons for the old one; it suffices that the new policy is permissible under the statute [and]

that there are good reasons for it”).

III.   The remaining preliminary injunction factors weigh strongly against a stay.

       Plaintiffs have not shown an irreparable injury that will result absent a stay. Plaintiffs argue

only generally that “MPP will impose unrecoverable costs on Plaintiffs,” but do not identify any

specific costs. Mot. 24. Instead they simply cite this Court’s prior findings when it enjoined the

June 1 memorandum. Id. But the burden is on Plaintiffs to show irreparable harm absent a stay and

they cannot meet this burden simply by relying on a now-vacated decision addressing a separate

agency action. And even if they could, the speculative, minor, wholly financial and self-inflicted


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costs Plaintiffs previously identified cannot establish irreparable injury. See Sampson v. Murray,

415 U.S. 61, 91 (1974); Moore v. Tangipahoa Par. Sch. Bd., 507 F. App’x 389, 397-98 (5th Cir.

2013) (“general financial information and speculation” that “cash-strapped school board would

find itself with fewer resources” insufficient to establish irreparable harm). Notably, even though

this case went to trial, Plaintiffs put forth no concrete evidence of harm or increased costs from

ending MPP, nor have they done so now with respect to the October 29 memorandum. Plaintiffs

have not “clearly carried their burden” to show irreparable harm absent a stay. Karaha Bodas Co.

v. Perusahaan Pertambangan Minyak Dan Gas Bumi Negara, 335 F.3d 357, 363 (5th Cir. 2003).

       Even if the Court found Plaintiffs’ assertion of harm persuasive, it would still be

insufficient to stay the October 29 memorandum nationwide. Plaintiffs do not assert harm beyond

the Plaintiff States, nor could they. Cf. Morice v. Hosp. Serv. Dist. #3, No. CV 18-7945, 2019 WL

1517954, at *7 (E.D. La. Apr. 8, 2019) (plaintiff “lacks standing to seek injunctive relief for harm

that will occur to others, even to others who would allegedly benefit”); Nutrition Distrib., LLC v.

Enhanced Athlete, Inc., 2017 WL 5467252, at *2 (E.D. Cal. Nov. 14, 2017) (refusing to

“consider irreparable harm to third parties”); Wooten v. BNSF Ry. Co., 2017 WL 1089546, at *1

(D. Mont. Mar. 21, 2017) (“harms alleged against third parties are not relevant to the

irreparable harm prong”). Article III demands that a remedy “be limited to the inadequacy that

produced the injury in fact that the plaintiff has established.” Gill v. Whitford, 138 S. Ct. 1916,

1931 (2018); see also DHS v. New York, 140 S. Ct. 599, 600 (2020) (Gorsuch, J., concurring). A

stay, like an injunction, thus must be no broader than “necessary to provide complete relief to the

plaintiffs.” Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994) (citation omitted).

Since MPP was only implemented at the border, even if Plaintiffs did establish irreparable harm,

any relief should be limited to the Texas border. See 5 U.S.C. § 705 (authorizing a stay only “to




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the extent necessary to prevent [the] irreparable injury”); cf. California v. Azar, 911 F.3d 558, 584

(9th Cir. 2018) (noting “scope of the remedy must be no broader … than necessary to redress the

injury shown” and narrowing relief “to the plaintiff states”).

       “Principles of judicial restraint” also require limiting relief to the Plaintiff States where, as

here, “[o]ther courts are considering these same issues,” and “many states that have not brought

suit may well have accepted and even endorsed the” agency’s action. Louisiana v. Becerra, 20

F.4th 260, 263 (5th Cir. 2021); see West Virginia v. DHS, No. 2:21-cv-22 (D. W.Va.) (challenging

ending of MPP); Arizona v. Mayorkas, No. 2:21-cv-617 (D. Ariz.) (same); MCIR v. DHS, No.

1:20-cv-3438 (D.D.C.) (same). “[I]n cases challenging federal administrative actions, similarly

situated parties may well have extremely dissimilar views on whether they are helped or harmed

by a federal policy.” Georgia v. President of the United States, --- F.4th ----, 2022 WL 3703822,

at *16 (11th Cir. Aug. 26, 2022). And these dissimilar views “‘encourage[] multiple judges and

multiple circuits to weigh in only after careful deliberation, a process that permits the airing of

competing views that aids this Court's own decisionmaking process.’” Louisiana, 20 F.4th at 264

(quoting New York, 140 S. Ct. at 600 (Gorsuch, J, concurring)); Trump v. Hawaii, 138 S. Ct. 2392,

2425 (2018) (Thomas, J. concurring) (explaining that nationwide relief “prevent[s] legal questions

from percolating through the federal courts, encourage[es] forum shopping, and mak[es] every

case a national emergency for the courts and for the Executive Branch”); see, e.g., Georgia, 2022

WL 3703822, at *16 (“When, as here, a regulatory challenge involves important and difficult

questions of law, it is especially vital that various courts be allowed to weigh in so that the issues

can percolate among the courts”) Thus, “nonuniformity is a deliberate feature of our federal court

system, and Congress—not one of the 94 federal district courts or 12 regional circuit courts—is

best positioned to choose when to depart from that norm.” Id.; see also Arizona v. Biden, 40 F.4th




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375, 395–98 (6th Cir. 2022) (Sutton, C.J., concurring).

       Moreover, even if Section 1252(f) does not bar relief under Section 705 outright, Section

705 does not authorize a nationwide stay except to the extent necessary to redress Plaintiffs’ injury.

Section 705 permits relief only “to the extent necessary to prevent irreparable injury” to the parties,

and, as explained, the APA reinforces remedial limitations like those in Section 1252(f )(1) by

providing that “[n]othing” in the APA right of review “affects other limitations on judicial review,”

the “duty of the court to … deny relief on any other appropriate legal or equitable ground,” or

“confers authority to grant relief if any other statute that grants consent to suit expressly or

impliedly forbids the relief which is sought.” 5 U.S.C. § 702(1), (2). Thus, even if the Court reads

an order under Section 705 to function as a stay rather than an injunction, Section 1252(f) would

still bar an order issuing such a stay nationwide, rather than just to the parties before the Court.

The House Report prepared in advance of the APA’s enactment further makes clear that “[t]he

authority granted is equitable” and “[s]uch relief would normally … be limited to the parties

complainant.” H.R. Rep. No. 79-1980, at 44 (1946) (emphasis added).

       The balance of equities also weighs strongly against granting a stay. Plaintiffs’ asserted

injury cannot outweigh the harm to Defendants or the public interest from continuing a program

that the Secretary has found ineffectual and counterproductive. See Valley v. Rapides Parish Sch.

Bd., 118 F.3d 1047, 1051 (5th Cir. 1997). As with their argument on irreparable harm, Plaintiffs

argue the balance of equities and public interest favor them simply by reference to this Court’s

prior findings when entering a permanent injunction, and argue the government’s interests are

lessened here because the government does not now have to rebuild infrastructure or negotiate

with Mexico to restart MPP. Mot. 24-25. But implementation of MPP required constant and

ongoing coordination and negotiation with Mexico that detracted from other diplomatic initiatives




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to manage the flow of migrants, “diverting attention from more productive efforts to fight

transnational criminal and smuggling networks and address the root causes of migration.” AR3.

       The Supreme Court has now emphasized, once again, that courts should give great weight

to potential foreign affairs consequences and take great care to avoid “the danger of unwarranted

judicial interference in the conduct of foreign policy.” Texas, 142 S. Ct. at 2543 (quoting Kiobel

v. Royal Dutch Petroleum Co., 569 U.S. 108, 115-16 (2013)). This is equally true in the

immigration context where the “dynamic nature of relations with other countries requires the

Executive Branch to ensure that enforcement policies are consistent with this Nation’s foreign

policy.” Texas, 142 S. Ct. at 2543 (quoting Arizona, 567 U.S. at 397). As the Supreme Court

explained, requiring the agency to continue using MPP “imposed a significant burden upon the

Executive’s ability to conduct diplomatic relations with Mexico,” in part because “MPP applies

exclusively to non-Mexican nationals who have arrived at ports of entry that are located in the

United States” and DHS “therefore cannot unilaterally return these migrants to Mexico.” Id.

(quotation marks and citation omitted). Further weighing in Defendants’ favor and against a stay

is the now even greater record of evidence showing the harm that was caused by MPP, including

how it prevented migrants from pursuing relief that Congress specifically authorized by statute,

and subjected migrants to crime, violence, and kidnapping while waiting in Mexico to attend their

hearings. See supra at 29; AR81-137, 171, 710-29, 745-828, 834, 892, 1210, 1303, 1311-79, 1431-

34, 1671, 1799-1805, 1897-1916, 2609-13.

       Challenges to DHS’s discretion on how best to enforce immigration law “invade a special

province of the Executive.” AADC, 525 U.S. at 489. A stay preventing DHS from ending a

discretionary program would thus interfere with a core constitutional power conferred on the

Executive, which itself establishes irreparable harm. See, e.g., Adams v. Vance, 570 F.2d 950, 954




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(D.C. Cir. 1978). Accordingly, a stay preventing DHS from ending MPP would cause direct,

irreparable injury to the interests of the government and the public, which “merge” in suits against

the federal government. Nken, 556 U.S. at 435. The balance of equities clearly favors Defendants.

                                          CONCLUSION

       For these reasons, the Court should deny Plaintiffs’ motion to postpone the effective date

of the October 29 memorandum.



       Dated: September 2, 2022               Respectfully submitted,

       CHAD E. MEACHAM                        BRIAN M. BOYNTON
       United States Attorney                 Principal Deputy Assistant Attorney General

       BRIAN W. STOLTZ                        WILLIAM C. PEACHEY
       Assistant United States Attorney       Director
                                              Office of Immigration Litigation
                                              District Court Section

                                              BRIAN C. WARD
                                              Senior Litigation Counsel

                                              JOSEPH A. DARROW
                                              Trial Attorney

                                              /s/ Erez Reuveni
                                              EREZ REUVENI
                                              Assistant Director
                                              U.S. Department of Justice
                                              Civil Division
                                              Office of Immigration Litigation
                                              District Court Section
                                              P.O. Box 868, Ben Franklin Station
                                              Washington, DC 20044
                                              Tel.: (202) 307-4293
                                              Email: erez.r.reuveni@usdoj.gov


                                              Counsel for Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 2, 2022, I electronically filed this response with the

Clerk of the Court for the United States District Court for the Northern District of Texas by using

the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                                             /s/ Erez Reuveni
                                             U.S. Department of Justice




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